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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

TIMOTFIY KEII'I I JOIINSON.                           )
                                                      )
                        Petitioner.                   )
                                                      )
                                                      )
                                                      )
DIRECTOR, 1'DCJ.CID,                                  )
                                                      )
                        Respondent.                   )   Civil Action No.   3   :21   -CV-2052-C-BN

                                                ORDER

       Before the Court are the Findings, Conclusions, and Recommendation of the United

States Magistrate Judge therein advising the Court that Petitioner's application for a            writ of

habeas corpus should be dismissed without prejudice under Rule 4          ofthe Rules Goveming

Section 2254 cases.r

       The Court has reviewed the Findings, Conclusions, and Recommendation for clear error

and finds none. It is therefore ORDERED that the Findings, Conclusions, and Recommendation

are hereby   ADOPTED      as the   findings and conclusions of the Court. For the reasons stated

therein, the Court ORDERS that Petitioner's application for a writ of habeas corpus be

DISMISSED without prejudice. The clerk of court is directed to serve               a copy     of this order

upon the Texas Attomey General.

        SO ORDERED.
                             4
        Dated November       I     .2021.


                                                  S         C           GS
                                                          R UNI      D STATES            ST     CT JUDGE


       lPetitioner has failed to file objections to the United States Magistrate   J       s Findings,
Conclusions, and Recommendation and the time to do so has now expired.
